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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )
              vs.                              )                  8:05CR288
                                               )
DWAYNE YOUMANS,                                )                   ORDER
                                               )
                      Defendant.               )

      A hearing was held on September 8, 2005 regarding Attorney Michael J. Poepsel’s
Motion to Withdraw at Attorney of Record [24]. The court granted Mr. Poepsel’s request
and, by separate order, reappointed CJA Panel Attorney Jon S. Natvig to represent the
defendant. Because substitute counsel requires additional time to investigate the case
and prepare for trial, defendant orally waived speedy trial for the time between August 31,
2005 and September 14, 2005.

       IT IS ORDERED:

       1.   The Motion to Withdraw [24] is granted. The Clerk shall terminate the
            appearance of Michael J. Poepsel as attorney of record.

       2.   A Status Conference regarding progression of the case is set for hearing on
            Wednesday, September 14, 2005 at 2:00 p.m. The defendant must appear
            in person.

       3.   Any additional time arising as a result of the granting of this motion, that is, the
            time between August 31, 2005 and September 14, 2005, shall be deemed
            excludable time in any computation of time under the requirement of the
            Speedy Trial Act, because counsel requires additional time to adequately
            prepare the case, taking into consideration due diligence of counsel and the
            novelty and complexity of this case, and the failure to grant additional time
            might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).

       DATED September 9, 2005.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
